Case 5:11-cv-00380-RBD-T_S Document 18 Filed 10/11/11 Page 1 of 1 PageID 92



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION

  AMBER JOHNSON,

         Plaintiff,                                  CASE NO.: 5:11-cv-380-Oc-37TBS
  v.

  LUXOTTICA RETAIL NORTH AMERICA, INC.
  A Foreign Profit Corporation

        Defendant.
  _________________________________________/

                       JOINT NOTICE OF NON-OBJECTION
                      TO REPORT AND RECOMMENDATION

         Pursuant to this Court’s Report and Recommendation dated October 11, 2011,

  Plaintiff and Defendant jointly file this Notice of Non-Objection.   Accordingly, the

  parties request that this Court enter an Order granting the parties’ Joint Motion to

  Approve the Settlement Agreement and Dismiss with Prejudice Plaintiff’s Complaint,

  along with their Third Proposed Revised Settlement Agreement filed on October 6, 2011.

  See (DE #6 and DE #16).

         Respectfully submitted this 11th day of October, 2011.


  /s/ STACEY SCHULMAN                                /s/ ANTHONY J. HALL
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